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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


 ECOFACTOR, INC.,

                Plaintiff,

 v.
                                                    Civil Action No. 6:22-cv-00069-ADA
 RESIDEO TECHNOLOGIES, INC.,

                Defendant.


                   DEFENDANT RESIDEO TECHNOLOGIES, INC.’S
                STATUS REPORT REGARDING MOTION TO TRANSFER

        Pursuant to the Court’s Standing Order Governing Proceedings 4.1 – Patent Cases,

Defendant Resideo Technologies, Inc. (“Resideo”) hereby submits the following Status Report

regarding Resideo’s Motion to Transfer Venue.

        Resideo filed its Motion to Transfer Venue on April 13, 2022. Plaintiff (“EcoFactor”)

served its Notice of Venue Discovery on April 28, 2022, stating that its response would be delayed

pending venue discovery. EcoFactor filed its Opposition to Resideo’s Motion to Transfer Venue

on July 6, 2022. Resideo filed its Reply in support of its Motion to Transfer Venue on July 20,

2022.

        At this time, Resideo respectfully submits that its Motion to Transfer Venue has been fully

briefed and is ready for resolution.
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Dated: July 27, 2022                       Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served with a copy of this document via the Court’s CM/ECF system on July 27,

2022.

                                                    /s/ S. Benjamin Pleune
                                                    S. Benjamin Pleune




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